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                                                                                   E-FILED
                                                   Friday, 13 November, 2020 05:27:58 PM
                                                              Clerk, U.S. District Court, ILCD

            IN THE UNITED STATES DISTRICT COURT
            FOR THE CENTRAL DISTRICT OF ILLINOIS
                    SPRINGFIELD DIVISION

UNITED STATES OF AMERICA,              )
                                       )
           Plaintiff,                  )
                                       )
     v.                                )      Case No. 16-30034
                                       )
MOHAMMED ALI SALEH,                    )
                                       )
           Defendant.                  )

        GOVERNMENT’S RESPONSE TO DEFENDANT’S
      AMENDED MOTION FOR COMPASSIONATE RELEASE

     The United States of America by its attorneys, John C. Milhiser,

United States Attorney for the Central District of Illinois, and Timothy

A. Bass, Assistant United States Attorney, respectfully submits its

response in opposition to the defendant’s Amended Motion for

Compassionate Release and states as follows:

     I.    Background

     In 2017, Defendant Mohammed Ali Saleh pleaded guilty pursuant

to a plea agreement to an indictment charging him with conspiracy to

distribute a controlled substance, namely, synthetic cannabinoids, in
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violation of 21 U.S.C. §§ 841(a)(1), 841(b)(1)(C). (R.19)1 As part of the

charged conspiracy, from on or about January 2015, and continuing to

on or about May 10, 2016, he agreed with others to distribute and did

regularly distribute synthetic cannabinoids or K-2, containing XLR-11

and AB FUBINACA, from his retail store, Gold Star Tobacco and Vape,

in Decatur, Illinois. (PSR ¶¶11-23) Defendant Saleh generated

substantial proceeds from the sale of the synthetic cannabinoids or K-2,

which were transferred to him in Hamtramck, Michigan. (PSR ¶11-23)

      At sentencing in 2018, Defendant Saleh’s final offense level was

calculated at 33 and his criminal history category was determined to be

I, resulting in an advisory Sentencing Guidelines range (Zone C) of 135

to 168 months of imprisonment and a minimum of 3 years to life of

supervised release. (PSR ¶¶30-39, 43, 75-78) The offense level

determination was based on a substantial drug quantity of 160.89

kilograms of synthetic cannabinoids and a role enhancement for being

an organizer, leader, manager, or supervisor in the offense. (PSR ¶33)

In addition, although Defendant Saleh’s criminal history category was I,




1References to documents in the record are to the docket number on this Court’s
docket sheet, e.g., “R. ”; references to the presentence report are to “PSR.”
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he has a prior conviction for assault with a dangerous weapon. (PSR

¶41) Following a motion by the government, this Court sentenced

Defendant Saleh to 78 months of imprisonment and 3 years of

supervised release.

         On October 20, 2020, Defendant Saleh filed the instant amended

motion for compassionate release. (R.44)

         II. The Defendant’s Expected Release Date and Medical Status

         According to the Bureau of Prisons (BOP), Defendant Saleh is

serving his sentence at FCI - Morgantown, which has a population of

481 inmates. https://www.bop.gov/locations/institutions/mrg/. His

expected release date is January 21, 2024. Defendant Saleh has no

disciplinary record. He has been assigned a minimum risk recidivism

level.

         According further to BOP, there are 0 inmates and 2 staff

members at FCI – Morgantown with confirmed cases of COVID-19, and

5 inmates and 4 staff members who have recovered.

         According to his BOP medical records, Defendant Saleh is 44

years old and has been treated for Type 2 diabetes mellitus for which he

receives medication. He has also been diagnosed with retinopathy;


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inguinal hernia; lower back pain; and bradycardia, unspecified.

According to his most recent medical records in April 2020, Defendant

Saleh appeared well.

     According to the probation office’s compassionate release report,

Defendant Saleh’s proposed release plan of residing with his wife and

children in Hamtramck, Michigan is suitable.

     III.   Argument

     The compassionate release statute provides, in pertinent part:

           The court may not modify a term of imprisonment once
     it has been imposed except that—

     (1) in any case—

     (A) the court, upon motion of the Director of the Bureau of
         Prisons, or upon motion of the defendant after the
         defendant has fully exhausted all administrative rights
         to appeal a failure of the Bureau of Prisons to bring a
         motion on the defendant’s behalf or the lapse of 30 days
         from the receipt of such a request by the warden of the
         defendant’s facility, whichever is earlier, may reduce the
         term of imprisonment (and may impose a term of
         probation or supervised release with or without
         conditions that does not exceed the unserved portion of
         the original term of imprisonment), after considering the
         factors set forth in section 3553(a) to the extent that they
         are applicable, if it finds that—

          (i) extraordinary and compelling reasons warrant such
     a reduction . . .


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     18 U.S.C. § 3582(c)(1)(A).

     In this case, it appears that Defendant Saleh has satisfied the

statutory exhaustion requirement. In addition, the government

concedes that his medical records reflect that he suffers from Type 2

diabetes, which, according to the CDC, results in an “increased risk of

severe illness from COVID-19.” https://www.cdc.gov/coronavirus/2019-

ncov/need-extra-precautions/people-with-medical-conditions.html.

Defendant Saleh’s motion, however, fails on the merits.

     First, although Defendant Saleh suffers from a health condition –

Type 2 diabetes -- that results in an increased risk of severe illness from

COVID-19 and therefore presents a compelling and extraordinary

reason to consider his motion, he is receiving medication and his overall

condition appears to be stable. Accordingly, Defendant Saleh does not

appear to be suffering from “a serious physical or medical condition . . .

that substantially diminishes the ability to provide self-care within the

environment of a correctional facility and from which he or she is not

expected to recover.” U.S.S.G. § 1B1.13 comment n.1(A)(ii).

     Second, the current COVID-19 epidemic, although undoubtedly

extreme and serious, is not (contrary to Defendant Saleh’s argument) by


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itself an “extraordinary and compelling reason” to grant a motion for

compassionate release. As Judge Shadid has held, “the mere presence of

COVID-19 in a particular prison cannot justify compassionate release—

if it could, every inmate in that prison could obtain release.” United

States v. Cabrera, 2020 WL 2549941, at * 4 (C.D. Ill May 19, 2020); see

also United States v. Hamlin, 2020 WL 1703848, at *5 (E.D. Wis. Apr.

8, 2020) (“Several courts have noted that the existence of the COVID-19

crisis alone is not sufficient to justify release if traditional factors

warrant detention.”). Defendant Saleh has not established that FCI-

Morgantown, which has 0 inmates and 2 staff members with confirmed

cases of COVID-19, and 5 inmates and 4 staff members who have

recovered, is facing a serious outbreak of COVID-19 infections or is

unable to successfully contain any outbreak.

      Third, a reduction in Defendant Saleh’s sentence is inconsistent

with the factors in 18 U.S.C. § 3553(a), namely, “the nature and

circumstances of the offense and the history and characteristics of the

defendant”; “the need for the sentence imposed—to reflect the

seriousness of the offense …”; and “to protect the public from further

crimes of the defendant[.]” The defendant was convicted of a serious


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offense involving a substantial quantity of synthetic cannabinoids; he

played a managerial role in the offense, which generated substantial

proceeds to himself; he has a prior conviction involving violence; and he

has not yet served one-half of his sentence. Given these factors, and

while Defendant Saleh’s conduct within BOP is commendable, the

government respectfully submits that a reduction in sentence is

inappropriate.

     Finally, to the extent that Defendant Saleh is requesting early

release to home confinement or a halfway house, such a request is also

inappropriate because “a district court has no jurisdiction to order home

confinement under the CARES Act, as that decision is reserved to

BOP.” United States v. Gentry, 2020 WL 2131001, at *5 (W.D. La. May

5, 2020); see also United States v. Lovelace, 2014 WL 4446176, at *2

(N.D. Ga. Sept. 2014) (“[T]he Court has no authority to grant

Defendant's request and order the Bureau of Prisons to release

Defendant to a halfway house.”) (citing 18 U.S.C. §§ 3621(b) & (b)(5)).

The Court may, however, order home confinement as a condition of

supervised release.




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     Accordingly, the government respectfully requests that Defendant

Saleh’s motion be denied.

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                     CERTIFICATE OF SERVICE
      I hereby certify that on November 13, 2020, I filed the foregoing
directly with the Clerk of Court using the CM/ECF system, which will
send a copy to:
     Counsel of record




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